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                                                              6   Attorneys for Defendant
                                                                  SAFEWAY INC.
                                                              7

                                                              8                               UNITED STATES DISTRICT COURT
                                                              9                              NORTHERN DISTRICT OF CALIFORNIA
                                                             10

                                                             11   DEBRA HORN,
                                                                                                            Case No. 3:19-cv-02488-JCS
 LLP




                                                             12                 Plaintiff,
            1300 CLAY STREET, SUITE 810
             OAKLAND, CALIFORNIA 94612




                                                                  vs.
KUMAGAI




                                                             13
                                            (415) 357-4605




                                                                                                            DEFENDANT SAFEWAY INC.’S CASE
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                                          (415) 357-4600




                                                                  SAFEWAY INC. and Does 1-50,               MANAGEMENT STATEMENT
                                                             14
                                                                                Defendants.                 Date:        November 12, 2021
                                                             15                                             Time:        2:00 p.m.
&
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                                                                                                            Courtroom:   F – 15th Floor
                                                             16                                             Judge:       Hon. Joseph C. Spero
                                                   FAX




                                                             17                                             Action Filed: March 11, 2019
                                                                                                            Notice of Removal Filed: May 8, 2019
                                                             18                                             Trial Date: TBD
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                                                                           DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                         (Case No. 3:19-cv-02488-JCS)
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                                                              1            Defendant Safeway Inc. (“Defendant”) submits this Case Management Statement
                                                              2   pursuant to Local Rule 16-9(a).
                                                              3   1.       Jurisdiction and Service
                                                              4            This case has been removed from California state court based upon federal question
                                                              5   jurisdiction. No known issues exist regarding personal jurisdiction or venue. No parties remain
                                                              6   to be served.
                                                              7   2.       Facts
                                                              8            Plaintiff is a current employee of Defendant and was employed as a food clerk during the
                                                              9   time period relevant to this case. On June 28, 2017, Defendant terminated Plaintiff’s
                                                             10   employment after she disregarded specific instructions on the handling of suspected shoplifters
                                                             11   and violated company policies. She had been warned beforehand that her failure to comply with
 LLP




                                                             12   these instructions would result in discipline up to and including termination. Plaintiff’s union
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             OAKLAND, CALIFORNIA 94612
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                                                             13   filed a grievance on her behalf and following an arbitration, the arbitrator concluded that Plaintiff
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                                                             14   had “engaged in serious misconduct by indulging in racial profiling and falsely accusing
                                                             15   customers of theft without having a reasonable basis for doing so,” “exposed the company to
&
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                                                             16   liability,” and “left her assigned work for a period of time” in violation of company policies.
                                                   FAX




                                                             17   While the arbitrator concluded that “serious discipline” was “warranted for the misconduct” and
                                                             18   that Plaintiff had demonstrated a “lack of candor,” he reduced the termination to a one year
                                                             19   suspension.
                                                             20            With regard to Plaintiff’s claims in this case, Defendant denies that it retaliated against
                                                             21   Plaintiff for engaging in protected activity, discriminated against or harassed Plaintiff based on
                                                             22   her alleged disability or perceived disability, failed to take reasonable steps to prevent
                                                             23   discrimination against Plaintiff, failed to provide reasonable accommodation for Plaintiff’s
                                                             24   alleged disability or perceived disability and/or failed to properly engage in the interactive
                                                             25   process to determine reasonable accommodation for Plaintiff’s alleged disability or perceived
                                                             26   disability.
                                                             27   3.       Legal Issues
                                                             28            1.      Whether Defendant retaliated against Plaintiff in violation of California Labor
                                                                                                                                                                         2
                                                                                DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                              (Case No. 3:19-cv-02488-JCS)
                                                                    Case 3:19-cv-02488-JCS Document 87 Filed 11/05/21 Page 3 of 6


                                                              1   Code § 1102.5 because Plaintiff disclosed information, or because Defendant believed that
                                                              2   Plaintiff may disclose information, to a government or law enforcement agency, to a person with
                                                              3   authority over Plaintiff or to another employee who has the authority to investigate, discover, or
                                                              4   correct the violation or noncompliance, and whether Plaintiff had reasonable cause to believe that
                                                              5   the information disclosed a violation of state or federal statute, or a violation of or noncompliance
                                                              6   with a local, state, or federal rule or regulation.
                                                              7           2.      Whether Defendant retaliated against Plaintiff in violation of the California Fair
                                                              8   Employment and Housing Act (“FEHA”).
                                                              9           3.      Whether Defendant harassed Plaintiff based on her alleged disability or perceived
                                                             10   disability in violation of the FEHA.
                                                             11           4.      Whether Defendant aided, abetted, incited, compelled or coerced others to harass
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                                                             12   Plaintiff based on her alleged disability or perceived disability in violation of the FEHA.
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                                                             13           5.      Whether Defendant discriminated against Plaintiff based on her alleged disability
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                                                             14   or perceived disability in violation of the FEHA.
                                                             15           6.      Whether Defendant failed to take reasonable steps to prevent discrimination
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                                                             16   against Plaintiff based on her alleged disability or perceived disability in violation of the FEHA.
                                                   FAX




                                                             17           7.      Whether Defendant failed to provide reasonable accommodation for Plaintiff’s
                                                             18   alleged disability or perceived disability in violation of the FEHA.
                                                             19           8.      Whether Defendant failed to properly engage in the interactive process to
                                                             20   determine reasonable accommodation for Plaintiff’s alleged disability or perceived disability in
                                                             21   violation of the FEHA.
                                                             22           9.      Whether Defendant discriminated against Plaintiff based on her alleged disability
                                                             23   or perceived disability in violation of the Americans with Disabilities Act (“ADA”).
                                                             24           10.     Whether Defendant failed to provide reasonable accommodation for Plaintiff’s
                                                             25   alleged disability in violation of the ADA.
                                                             26           11.     Whether Defendant harassed Plaintiff based on her alleged disability or perceived
                                                             27   disability in violation of the ADA.
                                                             28           12.     Whether Defendant retaliated against Plaintiff in violation of the ADA.
                                                                                                                                                                        3
                                                                               DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                             (Case No. 3:19-cv-02488-JCS)
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                                                              1            13.      Whether Plaintiff failed to mitigate her alleged damages.
                                                              2   4.       Motions
                                                              3            A.       Plaintiff’s Motions
                                                              4            Plaintiff filed a Motion to Compel and for Sanctions that was denied on January 22, 2021.
                                                              5            Siegel, Yee, Brunner & Mehta, Plaintiff’s former attorneys, filed a Motion to Withdraw
                                                              6   as Counsel for Plaintiff on July 16, 2021. The Court granted Plaintiff’s motion on August 20,
                                                              7   2021.
                                                              8            B.       Defendant’s Motions
                                                              9            Defendant filed a Motion for Partial Summary Judgment on February 26, 2021, which
                                                             10   was granted in part and denied in part on May 6, 2021.
                                                             11   5.       Amendment of Pleadings
 LLP




                                                             12            No amendments are expected.
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                                                             13   6.       Evidence Preservation
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                                                             14            The parties have reviewed the Guidelines Relating to the Discovery of Electronically
                                                             15   Stored Information and have met and conferred regarding reasonable and proportionate steps
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                                                             16   taken to preserve evidence relevant to the issues reasonably evident in this action.
                                                   FAX




                                                             17   7.       Disclosures
                                                             18            The parties have produced documents and information pursuant to the Court’s Initial
                                                             19   Discovery Protocols.
                                                             20   8.       Discovery
                                                             21            Discovery is closed.
                                                             22   9.       Class Actions
                                                             23            This case is not a class action.
                                                             24   10.      Related Cases
                                                             25            Defendant is not aware of any related cases.
                                                             26   11.      Relief
                                                             27            Defendant contends that Plaintiff is not entitled to recover any damages. The parties
                                                             28   agree that Plaintiff is not entitled to any damages for lost wages.
                                                                                                                                                                    4
                                                                                DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                              (Case No. 3:19-cv-02488-JCS)
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                                                              1   12.    Settlement and ADR
                                                              2          The parties participated in a court-sponsored mediation with court-appointed mediator
                                                              3   Kari Levine, Esq. on September 16, 2020. The parties also participated in a settlement
                                                              4   conference with Magistrate Judge Thomas S. Hixson on July 7, 2021. The parties did not reach a
                                                              5   settlement.
                                                              6          Defendant has complied with ADR L.R. 3-5.
                                                              7   13.    Consent to Magistrate Judge For All Purposes
                                                              8          The parties have consented to have a magistrate judge conduct all further proceedings.
                                                              9   14.    Other References
                                                             10          The case is not suitable for reference to binding arbitration, a special master, or the
                                                             11   Judicial Panel on Multidistrict Litigation.
 LLP




                                                             12   15.    Narrowing of Issues
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                                                             13          Defendant does not agree, at this time, to the narrowing of issues. At this time, Defendant
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                                                             14   does not have suggestions to expedite the presentation of evidence at trial.
                                                             15   16.    Expedited Schedule
&
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                                                             16          Defendant does not agree to the Expedited Trial Procedure.
                                                   FAX




                                                             17   17.    Scheduling
                                                             18          Defendant proposes the following trial dates:
                                                             19          (a)     October 3, 2022
                                                             20          (b)     October 10, 2022
                                                             21          (c)     October 17, 2022
                                                             22          (d)     October 24, 2022
                                                             23          (e)     October 31, 2022
                                                             24   18.    Trial
                                                             25          Plaintiff has demanded trial by jury. Defendant believes the jury trial will last
                                                             26   approximately 8 court days.
                                                             27   19.    Disclosure of Non-Party Interested Entities or Persons
                                                             28          Pursuant to Civil L.R. 3-15, Defendant certifies that the following listed persons,
                                                                                                                                                                   5
                                                                            DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                          (Case No. 3:19-cv-02488-JCS)
                                                                    Case 3:19-cv-02488-JCS Document 87 Filed 11/05/21 Page 6 of 6


                                                              1   associations of persons, firms, partnerships, corporations (including parent corporations) or other
                                                              2   entities (i) have a financial interest in the subject matter in controversy or in a party to the
                                                              3   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be
                                                              4   substantially affected by the outcome of this proceeding: Albertsons Holdings LLC and AB
                                                              5   Acquisition LLC.
                                                              6   20.     Professional Conduct
                                                              7           Defendant has reviewed the Guidelines for Professional Conduct for the Northern District
                                                              8   of California.
                                                              9   21.     Other Matters
                                                             10           None at this time.
                                                             11
 LLP




                                                             12   DATED: November 5, 2021                         LAFAYETTE & KUMAGAI LLP
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                                                             13
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                                                                                                                   /s/ Brian H. Chun
                                                             14                                                   BRIAN H. CHUN
                                                                                                                  Attorneys for Defendant
                                                             15                                                   SAFEWAY INC.
&
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                                                                            DEFENDANT SAFEWAY INC.’S CASE MANAGEMENT STATEMENT
                                                                                          (Case No. 3:19-cv-02488-JCS)
